IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

PLANNED PARENTHOOD SOUTH
ATLANTIC, et al.,
Plaintiffs,
v. 1:23-CV-480

JOSHUA STEIN, et al.,

Defendants
and

PHILIP E. BERGER, et al,

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Intervenor-Defendants.

ORDER

Earlier this year, in the wake of the Supreme Court’s decision in Debbs v. Jackson
Women's Health, 142 8, Ct. 2228, 2284 (2022), the North Carolina General Assembly
overhauled the state’s laws on abortion. That law, as amended, reduced the availability of
abortions and added more rules and prohibitions to the existing regulatory, medical, and
procedural requirements. It imposed civil, quasi-criminal, and, for many of its
provisions, criminal sanctions and penalties for its violation. The plaintiffs, Dr. Beverly
Gray and Planned Parenthood South Atlantic (PPSAT), challenge the constitutionality of
various provisions of the Act and seek a preliminary injunction prohibiting enforcement

of two provisions of the Act until all of its constitutional challenges are resolved.

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The plaintiffs are likely to succeed on the merits of their vagueness challenge to
the requirement that providers determine and document the probable intrauterine location
of a pregnancy before administering medication intended to terminate a pregnancy. The
Act does not provide a clear standard by which providers can make this determination,
the provision is open to differing interpretations and does not provide reasonable notice
of what is prohibited, and providers are subject to arbitrary accusations that they have
violated the provision and to the penalties that accompany those accusations.

The plaintiffs are also likely to succeed on the merits of their equal protection
challenge to the Act’s requirement that surgical abortions after 12 weeks of pregnancy
must be performed in a hospital. The plaintiffs have offered uncontradicted evidence that
the same medical procedures used for surgical abortions are used for miscarriage
management and that the risks of those identical procedures are the same whatever their
purpose. The legislature’s maternal health reasons for requiring these procedures to be
done in a hospital when a person who is pregnant as a result of rape or incest or with a
life-limiting anomaly choses to terminate a pregnancy apply equally to the same
procedures when a person chooses those procedures to manage a miscarriage, The
plaintiffs have shown the absence of any rational medical basis for distinguishing
between these two classes of patients and the defendant-intervenors have not offered any
evidence or rationale for that distinction.

PROCEDURAL HISTORY
On May 16, the North Carolina General Assembly enacted Senate Bill 20, entitled

“An Act to Make Various Changes to Health Care Laws and to Appropriate Funds for

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Health Care Programs.” Doc. 1-1. Among other things, the Act significantly restricted
access to abortions by changing and adding to the requirements of Chapter 90, Article 1i
of the North Carolina General Statutes where the laws governing abortion are codified.

The plaintiffs filed a verified complaint, on behalf of themselves and their patients
seeking abortions, and sought a temporary restraining order to keep the Act from going
into effect on July 1, 2023. Doc. 1. They raised several constitutional challenges. Jd.

Philip E. Berger, President Pro Tempore of the Nerth Carolina Senate, and
Timothy K, Moore, Speaker of the North Carolina House of Representatives, moved to
intervene as defendants on behalf of the General Assembly. Doc. 17, The Court granted
the motion. Text Order 06/24/2023; Minute Entry 06/28/2023; Doc. 32.

The General Assembly soon thereafter passed an amended version of the Act,!
largely directed to resolving some of the ambiguities in the original Act, and the amended
version was signed into law on June 29. See Doc. 26-1; Doc. 42 at | 6. The next day,
this Court denied the motion to enjoin enforcement of the Act as a whole. See Doc. 31.
But based on vagueness concerns, the Court granted the motion for a temporary
restraining order prohibiting enforcement of the intrauterine pregnancy (UP) provision
that required a “physician prescribing, administering, or dispensing an abortion-inducing
drug” to “fdJocument in the woman’s medical chart the .. . existence of an intrauterine

pregnancy.” Doc. 31 at 8-9.

'2023-14.N.C, Sess. Laws (“S.B. 20”), see Doc. 1-1, codified as amended by 2023-65 N.C.
Sess. Laws (“H.B. 190”), see Doc. 26-1; see generally N.C. Gen. Stat. § 90-21.80 ef seq.

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The parties thereafter jointly moved to extend the temporary restraining order
until after some expedited discovery and a ruling on the preliminary injunction motion.
Doc. 33. The Court granted the motion, Doc. 35, and set a schedule for expedited
discovery, briefing, and a hearing. Doc. 37.

The plaintiffs filed an amended verified complaint in light of the amendments to
the Act passed in late June. Doc. 42. For the same reason, they filed an amended motion
for a preliminary injunction. Doc. 48. They have also filed four declarations under oath
in support of their motion, Doc. 49-1; Doc, 49-2; Doc. 69-1; Doc. 69-2, deposition
testimony, Doc, 74-1; Doc. 74-2; Doc. 74-3; Doc. 74-4; other exhibits, and briefs. The
North Carolina Attorney General agrees with the plaintiffs that a preliminary injunction is
appropriate, see Doc. 63, and other defendants take no position. See Doc. 56; Doc. 58;
Doc. 61; Doc. 62. The intervenors defend the constitutionality of the provisions at issue,
and in opposition to the motion have filed two declarations under oath, Doc. 65-1; Doc.
65-3, various exhibits, deposition testimony, Doc. 75-2; Doc. 75-3, and briefs. The Court
has reviewed the record and heard arguments on September 25,

THE ACT

The Act defines “abortion” as a “surgical abortion or a medical abortion,” N.C.
Gen. Stat. § 90-21.81(1), and provides specific definitions of those phrases. § 90-
21.81(1c) (defining surgical abortion), -(4e) (defining medical abortion), The Act
provides that it is not unlawful to procure or cause an abortion during the first 12 weeks
of a woman’s pregnancy, § 90-21.81B(2), subject to extensive reguiatory, procedural, and

medical requirements. See generally § 90-21.80 et seq.

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Among many other things and as relevant here, the Act requires health care
providers to “[dJocument in the woman’s medical chart the probable gestational age and
existence of an intrauterine pregnancy” before administering an “abortion-inducing
drug.” § 90-21.83B(a)(7).2 An abortion-inducing drug is statutorily defined, § 90-
21.81(1a), and includes drugs such as mifepristone and misoprostol. fd.

The Act makes it “unlawful after the twelfth week of a woman’s pregnancy to
procure or cause a miscarriage or abortion” in North Carolina. § 90-21.81A. The Act
does, however, provide narrow exceptions for “surgical abortions” for specified periods
of time after 12 weeks and for specified reasons. See discussion infra. Surgical abortions
up to 12 weeks can be done in a clinic, § 90-21.81B(2), but if done after 12 weeks under
one of the authorized exceptions, the procedure must be performed in a hospital. §§ 90-
21,81B(3), -(4); -82A(c).° The hospitalization requirement is set to go into effect on
October 1, 2023. Doc. 31 at 2-3.

Ifa physician violates any provision of Article 1i, that physician is “subject to
discipline by the North Carolina Medical Board,” and if a licensed health care provider

violates any provision of the Article, it “shall be subject to discipline under their

* This provision was set to go into effect on July 1, Doc. 31 at S—6, but was enjoined by a
temporary restraining order. Jd. at 8-9.

3 The Act creates a new statutory provision, § 90-21.82A(c), which provides: “After the
twelfth week of pregnancy, a physician licensed to practice medicine under this Chapter may not
perform a surgical abortion as permitted under North Carolina law in any facility other than a
hospital.” Doc. 1-1 at 21. Another part of the same provision, § 90-21.82A(a), provides that the
term “hospital” is as defined in § 131E-176, Even though § 90-21.82A(c) is not yet in effect, the
Court will generally use the codified citation, rather than the citation to the Act.

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respective licensing agency or board.” § 90-21.88A. This statutory provision does not
provide a state of mind or intent standard.

Ifa person performs an abortion in knowing or reckless violation of any provision
in Article li, that person is subject to a civil action for damages and attorneys’ fees,
§§ 90-21.88{a), -(c). Physicians who perform abortions are subject to these penalties.

North Carolina provides criminal penalties for violation of its abortion laws. See
§ N.C. Gen. Stat. 14-44 ef seg. For example, if a person does not comply with the
provisions of § 90-21.81B and administers a drug to a pregnant woman or “use[s] any
instrument” with the intent “to procure the miscarriage of such woman,” the person is
subject to prosecution for a Class I felony. §§ 14-45; 90-21.81B. Outside narrow
exceptions, §§ 90-21.81B(3), -(4), it is “unlawful after the twelfth week of a woman’s
pregnancy to procure or cause an abortion.” § 90-21.81A(a). Ifa physician provides a
surgical abortion after 12 weeks, and the exceptions in § 90-21.81B are not applicable or
the physician does not comply with other requirements necessary for the procedure to be
lawful, the physician faces prosecution for a Class H felony. §§ 14-44; 90-21.81B. Ifa
person “unlawfully causes the death of an unborn child” by “willfully and maliciously
commit[ting] an act with the intent to cause the death of the unborn child,” the person can

be charged with a Class A felony, facing life in prison without parole. § 14-23.2.4

* There are other criminal provisions that do not appear to have potential applicability to the
provisions challenged here. See § 14-44.1 (providing criminal penalties for failing to comply
with the informed consent provisions for abortion in § 90-21.83A(b)(2)).

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FINDINGS AND DISCUSSION
I. STANDING

The United States Constitution limits federal courts to deciding “cases” or
“controversies.” U.S. CONST, art. IIT § 2, For federal jurisdiction to exist, plaintiffs must
establish their standing to sue. See California v. Texas, 141 S. Ct. 2104, 2113 (2021). A
plaintiff “must demonstrate standing with the manner and degree of evidence required at
the successive stages of the litigation.” TransUnion LLC v. Ramirez, 141 8. Ct, 2190,
2208 (2021) (cleaned up). The party “must demonstrate standing for each claim and for
each form of relief” it seeks. /d.

While a “plaintiff generally must assert his own legal rights and interests” and
“cannot rest his claim to relief on the legal rights or interests of third parties,” Md. Shall
issue, Inc., v. Hogan, 971 F.3d 199, 214 (4th Cir. 2020), there are “circumstances where it
is necessary to grant a third party standing to assert the rights of another.” Kowalski v.
Tesmer, 543 U.S. 125, 129-30 (2004). Litigants relying on third-party standing must
show: 1) a close relationship to the person who possesses the right, and 2) that the person
who possesses the right faces a hinderance in protecting his own interests, Powers v.
Ohio, 499 U.S. 400, 411 (1991).

Standing under Article HI has three elements: a “plaintiff must have (1) suffered
an injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant,
and (3) that is likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v.
Robins, 578 U.S. 330, 338 (2016); see also TransUnion LLC, 141 8, Ct. at 2203. Given

that this case is no ionger at the pleading stage, the plaintiffs cannot rest on “mere

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allegations” and must provide specific facts “by affidavit or other evidence,” which the
Courts must take as true. Lujan v. Defs. of Wildlife, 504 U.S, 555, 561 (1992) (cleaned
up); FED. R, CIV, P. 56(e).

Dr. Gray is a physician licensed to practice medicine in North Carolina, Doc. | at
§| 16, id. at p. 30 (verification), who currently provides a range of obstetric and
gynecological services, including abortion care in hospitals and outpatient clinics. Jd. at J
24, PPSAT is a heaith center licensed under North Carolina law. Doc. 49-1 at J 12.
They seek relief on behalf of themselves and their patients who need abortions. Doc. 42
at {[ 23-24. The Act explicitly says that health care providers like Dr. Gray are subject
to professional discipline if they do not comply with the hospitalization and TUP
provisions and that PPSAT is subject to civil penalties should it perform an abortion not
in compliance with the provisions at issue. See discussion supra at 5-6, Such
professional discipline constitutes a civil penalty at minimum. The credible threat of
such discipline is a sufficiently imminent injury in fact traceable to the challenged
provisions of the Act, and an injunction would redress that injury. See, e.g., Aim. Inst. of
Certified Pub. Accts. v. IRS, 746 F. App’x 1, 6 (D.C, Cir, 2018); see also Mishler v. Nev.
State Bd. of Med. Exam’rs, 896 F.2d 408, 409 (9th Cir. 1990) (“a professional license is
property and is protected by the Constitution’); Clapper v. Amnesty Int’! USA, 568 U.S.
398, 409 (2013) Gnjury must be “actual or imminent”).

The intervenors have said that there are criminal penalties available as well, see
Doc. 65 at 18, and the statutes provide a credible basis for criminal prosecution for their

violation. See discussion, supra at 6; infra at 20-21. A plaintiff satisfies the injury in

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fact requirement by showing “intention to engage in a course of conduct arguably
affected with a constitutional interest, but proscribed by a statute, and there exists a
credible threat of prosecution thereunder.” Susan B. Anthony List v. Driehaus, 573 U.S.
149, 159 (2014) (citing Babbitt v. United Farm Workers Nat'l Union, 442 U.S. 289, 298
(1979)). These plaintiffs have standing.

The plaintiffs have also shown that the Act’s provisions, if they are
unconstitutional, will injure their patients. The plaintiffs allege that the IUP requirement
will delay access to care, arguably exposing patients to increased medical risk, Doc. 42 at
{| 15, and the hospitalization requirement will harm patients by limiting availability of
care, increasing cost of care, and delaying access to care. Id. at 116. The plaintiffs offer
the necessary evidence to support these claims. Doc. 49-1 at 4 36, 73; Doc. 69-1 at J 31.
Thus, at this stage the plaintiffs also have third party standing. June Med. Servs. LLC v.
Russo, 140 8. Ct. 2103, 2118 (2020) (“We have long permitted abortion providers to
invoke the rights of their actual or potential patients in challenges to abortion-related
regulations.”).

The intervenors say that PPSAT lacks standing to challenge the hospitalization
provision on behalf of their patients because “PPSAT provided no evidence of any
woman seeking a post-12-week surgical abortion under one of the legal exceptions in any
of their facilities since the new law went into effect.” Doc. 75 at 9-10. But PPSAT
offered uncontradicted evidence that it has offered post-12-week surgical abortions in its

out-patient facilities in North Carolina for more than 15 years and that it would continue

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to do so but for the hospitalization requirement. Doc. 49-1 at §§] 12-13, 46. It does not
have to show that it has done so within the last few months in order to establish standing.

The intervenors also contend that the plaintiffs do not have third-party standing to
challenge the IUP requirement because they have not shown a close relationship with
their patients. Doc. 75 at 9. But Dr. Ferris, one of the providers for PPSAT, has testified
that she provides “direct medical services for PPSAT,” including “both medication and
procedural abortion,”° Doc. 49-1 at { 3, and that PPSAT asks questions of each patient
before administering medical abortion. /d. at J] 52-54. Dr, Gray says in her verified
amended complaint that she provides abortion care to patients. Doc. 42 24, The
defendants’ claim in its briefing that “PPSAT’s Chief Medical Officer admitted that its
abortion doctors do not spend any time with women before they receive the drugs,” Doc.
75 at 9 (unnecessary emphasis in original), is not supported by the evidence, as the
evidence cited says only that a trained PPSAT staff member reviews one particular
consent form with patients. Doc. 75-2 at 13. Indeed, the witness says in the next page of
the deposition that physicians sometimes review that particular form and implies
physicians are involved in other aspects of the informed consent process. Jd. at 14.

Il PRELIMINARY INJUNCTION STANDARD
‘To obtain a preliminary injunction, a party must show that: (1) it is likely to

succeed on the merits; (2) it is likely to suffer irreparable harm if the injunctive relief is

> The plaintiffs use the term medication abortion, which falls within the Act’s statutory
definition of “medical abortion.” § 90-21.81(4e), The Court will use the term medical abortion
for consistency with the language of the Act.

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denied; (3) the balance of equities tips in its favor; and (4) injunctive relief would be in
the public interest. See Winter v. Nat. Res. Def Council, Inc., 555 U.S. 7, 20 (2008);
dmarcian, Inc. v. dmarcian Eur. BV, 60 F.4th 119, 138 (4th Cir. 2023). “Satisfying these
four factors is a high bar,” SAS Inst., inc. v. World Programming Ltd, 874 F.3d 370, 385
(4th Cir. 2017), cert. denied, 139 S, Ct. 67 (2018), because a preliminary injunction is “an
extraordinary remedy involving the exercise of very far-reaching power,” Pashby v,
Delia, 709 F.3d 307, 319 (4th Cir. 2013) (cleaned up); see Roe v. Dep t of Def, 947 F3d
207, 219 (4th Cir. 2020). A district court need not consider all four Winter factors if one
is clearly absent. See Henderson for NLRB v. Bluefield Hosp. Co., LLC, 902 F.3d 432,
439 (4th Cir. 2018).

A plaintiff must make a “clear showing” that it is likely to prevail at trial to
demonstrate it is likely to succeed on the merits. See Real Truth About Obama, Inc. v.
FEC, 575 F.3d 342, 345 (4th Cir, 2009), vacated on other grounds, 559 U.S, 1089 (2010),
reinstated in relevant part on remand, 607 F.3d 355 (4th Cir. 2010). This does not
require “certainty of success,” Pashby, 709 F.3d at 321, but it is a higher standard than a
showing that serious questions are presented. See Real Truth, 575 F.3d at 346-47,

Plaintiffs seeking preliminary injunctive relief must also show a likelihood of
irreparable harm, not just a possibility. See Winter, 555 U.S. at 22; Real Truth, S75 F.3d
at 346. The irreparable harm must be “neither remote nor speculative, but actual and
imminent.” Scotts Co. v. United Indus. Corp., 315 F.3d 264, 283 (4th Cir, 2002).

The Court will focus its evaluation on whether the plaintiffs have established a

likelihood of success on the merits. If they have, the threatened constitutional violations

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unquestionably represent irreparable harm, see Elrod v. Burns, 427 U.S. 347, 373 (1976);
Leaders of a Beautiful Struggle v. Balt. Police Dep’t, 2 ¥ Ath 330, 346 (4th Cir, 2021) (en
banc), and the intervenors have not contended otherwise. Similarly, the threatened
constitutional violations would also outweigh whatever burden the injunction would
impose because the defendants are “in no way harmed by issuance of an injunction that
prevents the state from enforcing unconstitutional restrictions,” Legend Night Club v
Miller, 637 F.3d 291, 302-03 (4th Cir. 2011). “[U]pholding constitutional rights is in the
public interest.” /d, at 303,
Il. INTRAUTERINE PREGNANCY REQUIREMENT

Subject to a number of restrictions and requirements, the Act authorizes what it
defines as a “medical abortion” up to 12 weeks of pregnancy. The statute defines a
medical abortion as “[t]he use of any medicine, drug, or other substance intentionally to
terminate the pregnancy of a woman known to be pregnant,” with narrow exceptions not
relevant here. § 90-21.81(4e).°

Among the various conditions and restrictions, the Act requires that before
providing an abortion-inducing drug, a physician shall “[dJocument in the woman’s
medical chart the probable gestational age and existence of an intrauterine pregnancy.”

§ 90-21.83B(a}(7). As interpreted by the legislator-intervenors, this requirement

® Excluded from the definition of medical abortions are procedures done with the intent to:
“a, Increase the probability of a live birth; b) Preserve the life or health of the child; c) Remove a
dead, unborn child who died as the result of (2) natural causes in utero, (ii} accidental trauma, or
(iit) a criminal assault on the pregnant woman or her unborn child which causes the premature
termination of the pregnancy; d. Remove an ectopic pregnancy.” § 90-21.81(4e).

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essentially prohibits a medical abortion until into the second month of pregnancy because
a provider cannot know with certainty that the pregnancy is intrauterine in the absence of
an ultrasound so showing, which cannot happen until the fifth or sixth week of
pregnancy. See Part ITA Findings of Fact, infra at 13-16. The plaintiffs contend that
the [UP requirement violates the Fourteenth Amendment’s Due Process Clause because,
inter alia, it is vague.

A. FINDINGS OF FACT

The plaintiffs offer patients what they call “medication abortions” that fall within
the statutory definition of a “medical abortion.” Medical abortion typically involves a
two-step, two medication process: a dose of mifepristone followed 24 to 48 hours later
by a dose of misoprostol. Doc. 49-1 at | 17; Doc, 49-2 at 21. Together these
medications stop the development of the pregnancy and cause uterine contractions that
expel the contents of the uterus. Doc. 49-1 at { 17; Doc. 49-2 at § 21.

An ectopic pregnancy occurs when a fertilized egg implants and grows outside of
the uterus, Doc. 49-1 at [52 n.36; Doc, 65-3 at 458, and ectopic pregnancy accounts for
approximately 2 percent of all pregnancies, Doc. 65-3 at 9 58; Doc. 74-2 at 113.

Medical abortion is contraindicated for ectopic pregnancies because it is ineffective for
treating them, since ectopic pregnancies occur outside the uterine cavity. Doc. 65-2 at 5’;

Doc, 69-1 at 50; Doc. 69-2 at 411; Doc. 74-1 at 101.

7 The Court has used the pagination appended by the CM/ECF system for this and other
deposition cites, not the internal pagination used by the court reporters transcribing the
deposition,

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The 2023 label approved by the U.S. Food and Drug Administration for the
medical abortion drug mifepristone (Mifeprex) states that its use is “contraindicated” for
“confirmed or suspected ectopic pregnancy” and, in the “Warning and Precautions”
summary says, with a reference to § 5.4 of the label, “Ectopic pregnancy: Exclude before
treatment.” Doc, 65-2 at 2,5. Section 5.4 of the label states that the drug is
“contraindicated in patients with a confirmed or suspected ectopic pregnancy because [it]
is not effective for terminating ectopic pregnancies.” Jd. at 7. It further cautions that
“Thlealthcare providers should remain alert to the possibility that a patient who is
undergoing a medical abortion could have an undiagnosed ectopic pregnancy because
some of the expected symptoms experienced with medical abortion (abdominal pain,
uterine bleeding) may be similar to those of a ruptured ectopic pregnancy.” Jd, The FDA
has reported that 97 women have been diagnosed with ectopic pregnancies during
medical abortion, with two deaths reported from ruptured ectopic pregnancy, but the
record does not include the time frame over which these complications occurred. Doc.
65-1 at | 248.

An ectopic pregnancy cannot grow normally, and most of these embryos die, Doc.
65-3 at 758. If left untreated and the fallopian tube ruptures, the resulting interna!
bleeding can threaten the life of the woman. /d.; Doc. 75-2 at 16. A patient with an
ectopic pregnancy who takes a medical abortion drug will not be directly harmed by the

medication, and the medication itself does not exacerbate or increase the risk of

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complications from ectopic pregnancy. Doc. 69-1 at § 50; Doc. 69-2 at 7 11; Doc. 74-2 at
156; Doc, 74-3 at 144 (medical abortion cannot cause an ectopic pregnancy to rupture).®

After five or six weeks of pregnancy, the embryo can be seen on ultrasound if it is
in the uterus, but up until that point it is impossible to detect an intrauterine embryo by
ultrasound, Doc. 49-1 at 49; Doc. 65-1 at ] 239; Doc. 65-3 at ¢ 55. Blood tests are
available to provide additional information about whether the pregnancy is intrauterine or
ectopic, but they require interpretation and are not conclusive yes/no tests at this early
stage. Doc. 65-1 at § 254. Ectopic pregnancies can be difficult to diagnose, id., and, as
counsel for the intervenors agreed at the September 25 hearing, the practical effect of
their interpretation of the UP requirement would be that medical abortion is illegal up to
at least 5-6 weeks into the pregnancy.

When the intrauterine location of the pregnancy cannot be confirmed by
ultrasound, PPSAT’s current medical protocol screens for risk of ectopic pregnancy
through a set of questions about the patient’s medical history and current symptoms.

Doc. 49-1 at §f] 52-54. Providers evaluate known risk factors during the screening, such
as symptoms of pain and bleeding, history of ectopic pregnancies, past surgery on the

fallopian tube, and presence of pelvic inflammatory disease. /d. at 24 n,36. If the initial

® The plaintiffs offer evidence that screening for medical abortion and follow-up testing and
treatment based on a patient’s medical history is as safe for the patient as screening protocols that
use an ultrasound, Doc. 49-2 at 4 50, but the intervenors offer evidence to the contrary. Doc. 65-
1 at J] 351-393. For purposes of this motion, the Court assumes that ultrasound visualization
and testing before administering the medication results in better outcomes for some patients than
when the plaintiffs’ protocols are followed. But see Doc. 65-3 at § 25 (testimony by intervenors’
expert that women who have abortions after eight weeks are more likely to die). That
assumption does not affect the vagueness analysis.

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screening indicates the patient is at high risk of ectopic pregnancy, the plaintiffs refer
them to an emergency care provider. fd at § 52. But if the medical screening establishes
that the risk of ectopic pregnancy is low and if the patient consents, the medical abortion
begins; the provider simultaneously conducts further blood work to help determine if the
pregnancy is intrauterine or ectopic. fd. at 54. The blood work test results can take up
to 24 hours to receive. Jd. Following the FDA-approved mifepristone label instruction to
remain alert to ectopic pregnancy, the plaintiffs provide these patients with a counseling
form that explains the risk of ectopic pregnancy, outlines its symptoms, and instructs
patients to “call us right away” if they experience any of the symptoms. Doc. 74-15.

If the intervenor’s interpretation of the statute is correct, then the plaintiffs will be
prohibited from administering medical abortion drugs to a patient who wants an abortion
early in pregnancy but whose ultrasound does not yet show the intrauterine location of
the pregnancy, even if the patient is at low risk of an ectopic pregnancy. See, e.g., Doc.
49-1 at {48. For such patients, the Act requires no blood test for ectopic pregnancy and
no treatment for the possibility of an ectopic pregnancy.

B. VAGUENESS

“Tt is a basic principle of due process that an enactment is void for vagueness if its

prohibitions are not clearly defined.” Grayned v. City of Rockford, 408 U.S. 104, 108

(1972). “To survive a vagueness challenge, a statute must give a person of ordinary

intelligence adequate notice of what conduct is prohibited and must include sufficient
standards to prevent arbitrary and discriminatory enforcement.” Manning v. Caldwell for

City of Roanoke, 930 F.3d 264, 272 (4th Cir. 2019) (en banc); see also Sessions v,

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Dimaya, 138 8. Ct. 1204, 1212 (2018). A law is unconstitutionally vague if it fails to
provide either notice of what is prohibited or standards for enforcing them. See FCC v,
Fox Television Stations, Inc., 567 U.S. 239, 253 (2012); Grayned, 408 U.S. at 108. While
the Constitution does not require “mathematical certainty from our language,” it does
prohibit statutory language so unclear about prohibited conduct that it “may trap the
innocent by not providing fair warning” or so standardless that it allows “arbitrary and
discriminatory enforcement.” Greenville Women’s Clinic v. Comm’r, S.C. Dep’t of
Health & Env’t, 317 F.3d 357, 366 (4th Cir. 2002) (quoting Grayned, 408 U.S. at 108,
110). In the medical context, a statute will survive a vagueness challenge if it provides
physicians with “reasonable notice” as to the type of conduct that can lead to sanctions.
Freilich vy. Upper Chesapeake Health, Inc., 313 F.3d 205, 218 (4th Cir. 2002) (discussing
vagueness challenge to rules governing hospital privileges).

“The degree of vagueness the Constitution tolerates ... depends in part on the
nature of the enactment.” Vill, of Hoffman Ests, v. Flipside, Hoffman Ests., Inc., 455 U.S.
489, 498 (1982), The Due Process Clause requires “a stricter standard” of review for
laws that impose criminal penalties and less clarity from “purely civil statutes because the
consequences of imprecision are qualitatively less severe.” Manning, 930 F.3d at 272-73
(cleaned up); Carolina Youth Action Project v. Wilson, 60 F 4th 770, 781 (4th Cir. 2023),
When a challenged law is “quasi-criminal,” imposing severe civil consequences, the
Constitution requires a relatively strict evaluation. Vill. of Hoffinan Ests,, 455 US. at

499. Quasi-criminal penalties are those sanctions that impose “significant civil and

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administrative penalties, including fines and license revocation,” Women's Med. Ctr. of
Nw. Houston y, Bell, 248 F.3d 411, 422 (Sth Cir. 2001), as is the case here.

The plaintiffs are likely to succeed on their vagueness challenge to the requirement
in § 90-21.83B(a)(7) concerning intrauterine pregnancies. Implicit in the challenged
requirement that a provider “[djocument in the woman’s medical chart the probable
gestational age and existence of an intrauterine pregnancy” is a requirement that the
provider determine that the pregnancy is intrauterine; that is, it is not ectopic.’ Yet this
implicit requirement provides no standards by which the provider is to make this
determination, and it also gives rise to contrary interpretations, causing serious notice
problems and raising the risk of arbitrary enforcement. On top of those concerns,
providers cannot be sure whether they are facing only civil and quasi-criminal penalties
for violations or whether they are facing criminal sanctions.

First, the statute is unclear as to whether the provider must determine that the
existence of an intrauterine pregnancy is “probable” or whether some other standard of
certainty is required. The Act requires providers to determine “probable gestational age
and existence of an intrauterine pregnancy” before administering medication. The

intervenors say the word “probable” does not apply to the determination of an JUP and

® The parties refer to this provision consistently as the “IUP documentation requirement,” and
one could read the statute to simply require documentation of the provider’s current knowledge
of the location of the pregnancy, such that writing “unknown,” or “uncertain” or “unable to
determine” would comply. But no party has suggested this reading, and it does not seem a
particularly reasonable interpretation. As challenged here, the provision is better described as the
“IUP determination requirement,” as the vagueness problem arises from the proviston’s
ambiguity about the level of certainty required for a determination of an intrauterine pregnancy
before documenting that determination in the medical chart,

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contend that the provider must determine there is an IUP with certainty. Doc. 65 at 20.
At oral argument, the Attorney General, following rules of statutory construction
summarized by Justice Scalia and Bryan Garner, '° asserted that the provider must only
determine that there is a “probable existence of an intrauterine pregnancy.” While the
latter interpretation seems more likely, it is not clear.

Second, even if the provider need only determine the “probable existence” of an
IUP, uncertainty remains. A physician might reasonably read the instruction to find
“probable existence of intrauterine pregnancy” as consistent with PPSAT’s established
medical protocol for safely administering medical abortion before the pregnancy can be
seen on an ultrasound but where screening about the patient’s medical history and
symptoms permit a physician to determine that an ectopic pregnancy is unlikely. Doc.
49-1 at 9§[ 51-52, Doc. 49-2 at | 47. This would be a logical interpretation of the text
because the common understanding of the word “probable” means likely but not
certain.!' But the intervenors have offered evidence from other physicians tending to
indicate that the plaintiffs’ current approach is “clinically deficient,” Doc. 65-1 | 261, and
reading the Act to require a provider to “rule out” ectopic pregnancy before the

medication is given. Jd. at 4260. The FDA’s label for mifepristone does not seem to

10 See ANTONIN SCALIA & BRYAN GARNER, READING LAW: THE INTERPRETATION OF LEGAL
TEXTS 147 (2012) (Under the series-qualifier canon, “when there is a straightforward, parallel
construction that involves all nouns or verbs in a series, a prepositive ... modifier normally
applies to the entire series.”).

'! A standard dictionary states that probable means “supported by evidence strong enough to
establish presumption but not proof.” Probable, MERRIAM-WEBSTER, https://www.merriam-
webster.com/dictionary/probable (last visited Sept. 25, 2023).

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definitely clear this up, as it is read in contrary ways by the medical witnesses who have
testified. The label warns in the summary section that ectopic pregnancy should be
““fe|xclude[d] before treatment.” fd. at 2. But in the section that the summary references,
the label says that the medication can safely be administered even if an ectopic pregnancy
cannot be definitively ruled out, so long as the patient is appropriately monitored. Doc.
65-2 at 7. The Act itself provides no standards for how certain the provider must be
before documenting the probable existence of an intrauterine pregnancy, |?

Third, the vagueness problem is enhanced in light of another part of the Act, which
explicitly permits medicai abortion through the first 12 weeks of pregnancy, see § 90-
21.81B(2). Yet the intervenors’ interpretation, as their counsel acknowledged at the
September 25 hearing, would in fact ban medical abortion early in pregnancy. This goes
beyond a regulatory requirement that must be met and constitutes a prohibition.

Providers cannot know if medical abortion is authorized at any point through the tweifth
week, as the statute explicitly says, or ifthe procedure is implicitly banned early in
pregnancy.

Finally, there is even a degree of uncertainty over whether providers who do not

comply with this provision face only civil and quasi-criminal sanctions or whether

!2 The plaintiffs have presented evidence that PPSAT usese five categories when evaluating
whether the risk of an ectopic pregnancy is too high for a medical abortion. Doc. 75-3 at 19.
One of these categories is “probable intrauterine pregnancy.” fd. But there is nothing in the
statute to indicate that the legislature meant to adopt PPSAT’s understanding of this word,
especially since the intervenors’ experts read the statute to require providers to “rule out” ectopic
pregnancy, Doc. 65-1 at | 260; Doc. 65-3 at ] 68, a higher degree of certainty than PPSAT’s
definition of “probable.”

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criminal sanctions are also available. The plaintiffs and the Attorney General agree that
the Act provides potential criminal penalties for physicians, and as the Court’s summary
earlier, see discussion, supra at 6, shows, that seems likely. But the Intervenors have
taken inconsistent positions; in their brief, they say it does impose criminal penalties,
Doc. 65 at 18, but at the recent hearing, they took the position that it only imposed civil
penalties.

Providers are entitled to “reasonable notice” of whether they can be criminally
prosecuted for violating this provision. See, e.g., Johnson v. U.S., 576 U.S. 591, 596
(2015), And whether applying the strict standard required when criminal prosecution is a
possibility or the relatively strict standard when quasi-criminal sanctions are possible, the
TUP requirement in the Act is unconstitutionally vague,

The intervenors maintain that the UP requirement is not vague because “each of
the possible criminal penalties include a scienter requirement.” Doc. 65 at 18. A scienter
requirement can generally help ameliorate vagueness concerns about a statutory provision
that imposes criminal penalties. See Hill vy. Colorado, 530 U.S. 703, 732 (2000). But the

intervenors have not identified what scienter requirement applies to what act,!* nor have

'3 The Supreme Court has been very attentive to scienter requirements in criminal statutes
over the past few years, parsing statutory language carefully and relying on the presumption in
favor of scienter for various elements of various crimes. See, ¢.g., Rehaify. United States, 139 S.
Ct. 2191, 2195 (2019) (discussing the scienter requirement for prosecution for possession of a
firearm by a prohibited person); Ruan v. United States, 142 8. Ct. 2370, 2377-78 (2022)
(discussing the scienter requirement for prosecution for unlawfully distributing controlled
substances); McFadden v. United States, 576 U.S, 186 (2015) (same); Elonis v. United States,
575 U.S, 723, 734 (2015) (discussing the scienter requirement for prosecution for issuing
threatening communications).

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they explained how the scienter requirement here counteracts any vagueness issue in this
specific context. And in any event, the scienter requirements provide no protection to a
physician from arbitrary criminal enforcement if the physician intends to administer a
medical abortion but cannot figure out the precise actions required, allowed, and
prohibited under the law.

The intervenors also contend that a state official can easily determine whether the
statute has been violated by “check[ing] the ‘woman’s medical chart’ to see whether the
physician ‘[d]ocument[ed]... the existence of an intrauterine pregnancy,” Id. at 20,
This circular argument is not persuasive. The statute is not particularly unclear about
documentation, see supra note 9, but it is unclear about the degree of certainty required in
order for a provider to determine the existence, or probable existence, of an IUP in order
to document it.

The legislature is not required to draft its statutes with “mathematical precision,”
but the [UP requirement’s high degree of ambiguity does not provide the fair warning the
law requires and runs the risk of leading to the inconsistent and arbitrary enforcement the
law prohibits. See Johnson, 576 U.S. at 597-598. The plaintiffs are likely to prevail on
their claim that the [UP requirement is unconstitutionally vague in violation of the Due
Process Clause.

IV. HOSPITALIZATION REQUIREMENT

Up to the twelfth week of pregnancy, and subject to numerous requirements and

restrictions, a woman can obtain a medical abortion or a surgical abortion in a doctor’s

office or clinic. § 90-21,81B(2); see generally § 90-21.80 et seg. After the tweifth week

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of pregnancy, a woman cannot obtain a medical abortion. § 90-21.81B(2). Ifshe is
pregnant as a result of rape or incest or if there exists a “life-limiting anomaly,” and
before specified weeks of pregnancy pass, she may be able to obtain a surgical abortion,
but only in a hospital. §§ 90-21.81B@), -(4), -82A(c); N.C. Gen. Stat. § i31E-176. The
statute defines a “surgical abortion” as “[t]he use or prescription of any instrument or
device intentionally to terminate the pregnancy of a woman known to be pregnant,”
unless the intent of the use of the device is to:

a, Increase the probability of a live birth; b. Preserve the life or

health of the child; c. Remove a dead, unborn child who died as the

result of (i) natural causes in utero, (ii) accidental trauma, or (ili) a

criminal assault on the pregnant woman or her unborn child which

causes the premature termination of the pregnancy; d. Remove an

ectopic pregnancy.
§ 90-21.81(1c). The plaintiffs contend, infer alia, that the hospitalization requirement
violates the Equal Protection clause of the Fourteenth Amendment. Doc. 42 at 9 85-86.

A, FINDINGS OF FACT
There are two methods of abortion that use an instrument intentionally to

terminate the pregnancy of a woman known to be pregnant and thus fall within the
statutory definition of a surgical abortion: aspiration, which medically can typically be
performed up to approximately 14 weeks of pregnancy, and dilation and evacuation
(D&E), which is available after approximately 14 weeks of pregnancy. Doc. 49-1 at
qf 15, 21, 25, 26.

The same two procedures are used for miscarriage management. /d. at ¥¥J 24, 28,

41 (averring that surgical abortion procedures are “identical” to procedures for

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miscatriage management); Doc, 49-2 at | 24, Miscarriage management is required when
a person’s body does not naturally expel the pregnancy tissue after miscarriage or when a
pregnancy stops growing, as evident from the absence of embryonic or fetal cardiac
activity. fd. at 10 n.7. When so used, these two procedures are not statutorily prohibited
or unlawful because the purpose of the procedure is to “[r]Jemove a dead, unborn child
who died.” § 90-21.81G.c)(c).

There are a number of risks from aspiration and D&E, including bleeding,
hemorrhaging, infection, damage to the uterus and other organs, cervical laceration,
uterine perforation, pulmonary embolism, and death. Doc. 65-1 at 4] 80, 136, 152; Doc.
74-1 at 33-36, 91-93 (speaking generally of all induced abortions). These risks exist
whether the procedures constitute a surgical abortion as defined by the statute or whether
they are done for miscarriage management and thus are not defined as abortions under the
Act. Doc, 74-1 at 174-75 (identifying cervical lacerations, uterine perforation, infection,
and hemorrhage as potential complications from miscarriage management procedures).
Not all of these complications occur immediately, and some can occur after the patient
leaves the clinic or hospital. Doc, 49-1 941. Since the hospitalization requirement only
applies to abortion and not to identical procedures for miscarriage management or
removal of retained pregnancy tissue, patients who have retained tissue as a complication
of a surgical abortion performed in a hospital could obtain treatment for that complication
at an outpatient clinic using aspiration or D&E. Id.

Major complications requiring hospital admission can occur during surgical

abortions. fd. at ]31. At all gestational ages, complications requiring transfer from a

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clinic to a hospital arose in only 31 of the 38,795 surgical abortions the plaintiffs
performed in North Carolina in the last three and half years, Doc. 69-2 at ¥ 8, which is
well under a tenth of one percent. Doc. 74-12; Doc. 74-14; Doc. 75-6. Only 7 of those
patients required admission, and all 31 were released in stable conditions. Doc. 69-2 4 8.
Of the 31 patients requiring transfers, only 17 involved procedures with patients at the
post-12-week gestational age. Doc. 74-12. The plaintiffs have experienced no logistical
difficulties with these infrequent transfers. Doc. 69-2 { 8.

The risk of complications from aspiration and from D&E increases with
gestational age. Doc, 49-2 at § 27; Doc. 65-1 at J] 38-42; Doc. 65-3 35, Doc. 74-1 at
150; Doc. 74-2 at 146. For pregnancies of the same gestational age, there is no difference
in the risk of complications between a procedure to manage early miscarriage and
aspiration abortion. Doc. 49-1 24.

For many years, aspiration and D&E procedures have primarily and routinely been
performed in clinics, not in hospitals. Id. at J] 36, 40. The procedures are the same
whether undertaken in a hospital or outpatient setting, Zd. at 438, 40. To date, the
plaintiffs regularly perform these procedures in their own clinics after 12 weeks, id. at
{| 12, 36, sometimes on referral from hospitals. id. at { 46. There may be patient-

specific reasons why some patients need the procedures to be performed in a hospital, id.

'4 Of the 38,795 abortions PPSAT performed in North Carolina from January 2020 through
June 2023, not limited by gestational age, 522 patients suffered from various complications,
including hemorrhage, pain/bleeding, and infection. Doc. 74-13 at 2. Of the 522 patients
suffering from a complication, 31 required transferring to a hospital. Doc, 74-13 at 2, 31/38,795
= 08%.

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at { 44, and in the second-trimester, these procedures are often handled in a hospital when
undertaken for miscarriage management by physicians who work in hospitals. Doc. 74-3
at 116.

There is credible evidence, including at least one study, that second-trimester
surgical abortions in outpatient facilities are safer than in hospitals, Doc. 49-1 at 1 38;
Doc. 74-3 at 132--33,"° and the American College of Obstetricians and Gynecologists and
the American Public Health Association have endorsed the view that it is unnecessary to
require abortions to be performed in hospitals, Doc. 49-1 at 37.

Surgical abortions in hospitals are more expensive, logistically difficult, and more
time-consuming for the patients than abortions in clinics, which will result in delay and
increase the gestational age of the pregnancy, and thus the maternal health risks, when the
abortion occurs, Jed. at {[ 36, 70; Doc. 69-1 at 31; Doc. 65 at 26. These issues,
particularly cost, may prevent some women pregnant as a result of rape or incest or
facing a life-limiting anomaly from obtaining a surgical abortion within the time limits
prescribed by the statute.

B. EQUAL PROTECTION

The Equal Protection Clause of the Fourteenth Amendment prohibits any state

from “deny[ing] to any person within its jurisdiction the equal protection of the laws.”

'S The intervenors’ expert, Dr. Wubbenhorst, characterizes this evidence as “limited,” Doc.
65-1 at { 186, but another study she otherwise relies on, Doc. 65-1 at 739, also found that D&E
abortions performed in nonhospital settings had lower death to case rates than those performed in
hospitals. Doc. 74-3 at 132-33. The intervenors have cited no evidence contrary to the
plaintiffs’ evidence.

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U.S, CONST, amend. XTV, § 1. Generally, “legislation is presumed to be valid and will be
sustained if the classification drawn by the statute is rationally related to a legitimate state
interest.” City of Cleburne v. Cleburne Living Ctr, 473 U.S. 432, 440 (1985). Unlike
laws that treat similarly situated people differently based on race, alicnage, national
origin, or gender, which trigger a heightened standard of review, federal courts do not
closely scrutinize legislative enactments that distinguish “characteristics relevant to
interests the State has the authority to implement.” Jd, at 441-42, Courts apply this
lower level of scrutiny out of respect for the separation of powers. Jd.

Last year, the Supreme Court held that “regulation of abortion is not a sex-based
classification and is thus not subject to the heightened scrutiny that applies to such
classifications” and that it is “governed by the same standard of review as other health
and safety measures.” Dobbs, 142 8. Ct. at 2245-46 (cleaned up), When a plaintiff is
not a member of any suspect class and no fundamental right is at play, “it must prove that
it has been intentionally treated differently from others similarly situated and that there is
no rational basis for the difference in treatment. [7 re Premier Auto. Servs., Inc., 492 F.3d
274, 283 (4th Cir. 2007) (cleaned up).

When assessing plaintiffs’ claim that they are being treated differently than
“similarly situated” groups, courts ask if the groups are alike based on the relevant
legislative purpose. See Williams y. Vermont, 472 U.S. 14, 23-24 (1985), “A
classification must be reasonable, not arbitrary, and must rest upon some ground of
difference having a fair and substantial relation to the object of the legislation.”

Eisenstadt v, Baird, 405 U.S. 438, 447 (1972) (cleaned up); see, e.g., Catherine H. Barber

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Mem’ Shelter, Inc. vy. Town of N. Wilkesboro Bd. of Adjustment, 576 F. Supp. 3d 318,
338 (W.D.N.C. 2021) (noting that the proper similarly-situated inquiry does not assess
whether the plaintiffs are different than other groups in any way, but rather whether there
are differences between groups that relate to the purpose of the challenged law).

The plaintiff must then demonstrate that “the disparity in treatment cannot be
justified under rational basis review.” Jd. at 339-40, Under this most lenient tier of
review, courts presume the validity of state laws, see City of Cleburne, 473 U.S. at 446,
and a plaintiff relying on a rational basis review to challenge a law must “negative every
conceivable basis which might support it.” LeAnhausen v, Lake Shore Auto Parts
Co., 410 US. 356, 364 (1973). To justify a law under rational basis review, the law does
not require the state to come forward with an exquisite evidentiary record, and the court
will be satisfied with the government’s rational speculation linking the regulation to a
legitimate purpose, even “unsupported by evidence or empirical data.” FCC v. Beach
Comme ‘ns, Inc., 508 U.S. 307, 315 (1993).

The parties agree that the Court must evaluate the plaintiffs’ Fourteenth
Amendment claims under rational basis review and that “the protection of maternal
health and safety,” the only interest the intervenors, speaking on behalf of the General
Assembly, have put forth, Doc, 65 at 2, is a legitimate state interest. Doc. 49 at 11; Doc.
65 at 8.

The evidence to date establishes that women who need an aspiration or D&E
procedure are intentionally treated differently depending on the reason they need the

procedure. If performed for miscarriage management after 12 weeks of pregnancy,

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neither aspiration nor D&E must be performed in a hospital.!® § 90-21.82A(c). But if
performed for the purpose of terminating a pregnancy when a woman is pregnant as a
result of rape or incest or there exists a life-limiting anomaly, the Act requires the
procedure to be done in a hospital after 12 weeks of pregnancy, §§ 90-21.82A(c); 131E-
176, The plaintiffs’ evidence establishes without contradiction that there is no rational
medical reason for this distinction, and the intervenors have offered no explanation or
evidence — that is, no rational basis — for this differing treatment.

The intervenors contend that because the risk of complications from these
procedures is higher at later gestational ages, it is rational to require the procedures to be
performed in a hospital, where complications can be better addressed. Doc. 65 at 9. But
they offer no explanation for why physicians must perform these procedures in a hospital
if the purpose is to accomplish an abortion but may conduct the exact same procedures
with the exact same risks in a clinic or doctor’s office if the purpose is to manage a
miscarriage. See City of Cleburne, 473 U.S. at 449-50 (rejecting health and safety
justification for requiring group of mentally disabled persons to obtain special use permit
because similarly situated groups vulnerable to same health risks were not required to

obtain permit); U.S. Dep’t of Agric. v. Moreno, 413 U.S. 528, 534 (1973) (refusing public

'§ As noted supra at page 23, the statute excludes miscarriage management from the
definition of a surgical abortion and thus from the hospitalization requirement. § 90-21.81(1c)
(excluding removal of “a dead, unborn child who died as the result of (i) natural causes in utero,
(ii) accidental trauma, or (iii) a criminal assault on the pregnant woman or her unborn child
which causes the premature termination of the pregnancy” from the definition of statutory
abortion.)

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health and nutrition justification for Food Stamp Act amendment restricting assistance
only to households of related persons).

The intervenors assert that the plaintiffs have not established that they are being
treated differently than similarly situated groups because the Act does not distinguish
between “a particular class of patients... or a class of physicians,” but rather between
“suitable facilities based on the gestational age of the fetus and attendant risks.” Doc. 65
at 14 (cleaned up). But this is not so; the legislature has distinguished between patients
based on the reason the patient needs or wants the procedure, not based on any medical
difference between the procedures or on differing risks. In Hisenstadt, for example, the
Supreme Court’s rational basis inquiry did not assess a contraceptive prohibition as
distinguishing between medical or pharmaceutical products; instead, the Court asked how
the regulation treated married and unmarried classes of people seeking access to the
medication. Fisenstadt, 405 U.S. at 450-52. So, too, in City of Cleburne, the Court’s
rational basis analysis focused on how the regulation extended benefits differently to
classes of people based on cognitive ability. City of Cleburne, 473 U.S. at 449-50. Here,
the legislature distinguishes between women based on their reason for seeking this
medical treatment and treats women who have had miscarriages differently from women
who seek the same medical procedures because of rape or incest or fetal anomalies,

In their briefing, the intervenors also rely on the statement by the Fourth Circuit in
Greenville Women’s Clinic v. Bryant as creating a per se presumption of rationality in the
equal protection context when the state distinguishes between abortion and other medical

services. Doc. 65 at 15. Buta presumption is just a presumption; it does not mean courts

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are precluded from a rational basis analysis. And the court in Bryant did conduct a
rational basis evaluation, as it explicitly considered whether the classification there was
“related to its purpose of protecting the health of abortion patients.” Bryant, 222 F.3d
157, 174 (4th Cir. 2000). To the extent that the intervenors are saying that abortion
regulation should be given more deference even than rational basis, that argument is
inconsistent with the holding in Dobds that abortion laws are “governed by the same
standard of review as other health and safety measures.” Dobbs, 142 S. Ct. at 2245-46,"
The intervenors maintain that the legislature need not deal with every conceivable
risk at once and that the legislature “may take one step at a time, addressing itself to the
phase of the problem which seems most acute to the legislative mind.” Doc. 65 at 15—16;
Williamson y. Lee Optical of Okla. inc., 348 U.S. 483, 489 (1955). But nothing in Lee
Optical says that it is constitutionally acceptable for the legislature to treat women who
undergo the exact same medical procedure differently based solely on the reason they are
secking the procedure and not based on any health and safety rationale.'* Here, the
plaintiffs have presented compelling and largely uncontradicted evidence that the
procedures for post-12-week surgical abortions and for miscarriage management are

identical and carry the same risks. The legislature, through the intervenors, has offered

'T At the September 25 hearing, the intervenors recognized that abortion regulation should be
evaluated under the same rational basis test as any other health and safety law,

'§ This is not a question limited to abortion but could arise with many medical and dental
procedures. For example, if the intervenors are correct, it would seem the legislature could,
without any medical reason or other rational basis, require persons who choose a particular
surgery for cosmetic reasons to have that surgery in the hospital while allowing persons
undergoing the same surgery with the same risks to treat a medical condition to have the
procedure in a doctor’s office.

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no reason for this different treatment. The harm to women pregnant as a result of rape or
incest or who face life-limiting anomalies is obvious, as the differing treatment increases
the costs and can delay treatment, which results in surgical abortions occurring later in
pregnancy when the risks to maternal health are higher.

The plaintiffs will likely carry the heavy burden of overcoming the presumed
rational basis for the hospitalization requirement.

Vv. SEVERABILITY
Section 90-21.92 of the Act contains a severability clause, which reads:
If any one or more provision, section, subsection, sentence, clause,
phrase, or word of this Article or the application thereof to any person
or circumstance is found to be unconstitutional, the same is hereby
declared to be severable, and the balance of this Article shall remain
effective, notwithstanding such unconstitutionality. The General
Assembly hereby declares that it would have passed this Article, and
each provision, section, subsection, sentence, clause, phrase, or word
thereof, irrespective of the fact that any one or more provision,
section, subsection, sentence, clause, phrase, or word be declared
unconstitutional.
§ 90-21.92.

This severability clause constitutes clear legislative intent to preserve as much of
the Act as possible in the instance of specific provisions being found unconstitutional. At
this stage, the plaintiffs only seek an injunction as to specific sections of the Act. Doc. 42
at 27. The preliminary injunction will be limited to these two specific provisions.

CONCLUSION

The plaintiffs have established a likelihood of success on their Fourteenth

Amendment Due Process Clause challenge to the Act’s requirement that providers

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document the probable intrauterine location of a pregnancy before administering
medication intended to terminate the pregnancy, presenting a compelling argument that
the provision is unconstitutionally vague. The plaintiffs have also established a
likelihood of success on their Fourteenth Amendment Equal Protection Clause challenge
to the Act’s requirement that surgical abortions after 12 weeks of pregnancy be performed
in a hospital. The Court need not address the plaintiffs’ other arguments.

Having demonstrated that the Act likely poses a direct threat to their constitutional
rights and those of their patients, the plaintiffs also have established that they would be
irreparably harmed. See Elrod, 427 U.S. at 373; Leaders of a Beautiful Struggle, 2 FAth
at 346. And the balance of equities tips in the plaintiffs’ favor because defendants are “in
no way harmed by issuance ofa preliminary injunction which prevents [them] from
enforcing” the provisions of the Act that are “likely to be found unconstitutional.”
Newsom ex rel. Newsom v, Albemarle Cnty. Sch. Bd., 354 F.3d 249, 261 (4th Cir. 2003);
see also Winter, 555 U.S. at 20. Furthermore, it is in the public interest for statutes that
likely violate constitutional rights to be enjoined from being enforced. Legend Night
Club, 637 F.3d at 302-03. Thus, sections 90-21.83B(a)(7) (UP provision); and 90-
21.81B(3), -(4), 90-21, 82A(c) (hospitalization requirement) must be enjoined in their
entirety, pending final resolution of the plaintiffs' claims or further order of this Court.

It is ORDERED that:

1. The plaintiffs’ amended motion for a preliminary injunction, Doc. 48, is

GRANTED.

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2. Upon receipt of this Order, each and every defendant, their agents, and
successors in office are RESTRAINED, ENJOINED, and FORBIDDEN
from enforcing—by civil action, criminal proceeding, administrative action or
proceeding, or any other way—the provision in the Act requiring determination
and documentation of an intrauterine pregnancy, § 90-21.83B(a)(7), and the
provision in the Act requiring surgical abortions to be performed in a hospital
aiter twelve weeks, §§ 90-21.81B(3), -(4), 90-21.82A(c).

3, In its discretion, the Court WAIVES the bond requirement.

4. The original motion for a preliminary injunction, Doc. 11, is DENIED as
moot, having been supplanted by an amended motion.

This the 30th day of September, 2023.

lah. bo Ba

UNITED STATES DISTRIG@P JUDGE

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